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          EXHIBIT
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Telodoc
                    HEALTH


You are receiving this fax because one of your patients recently received a telehealth consultation
through Teladoc Health. Attached are the Consultation Details to incorporate into their medical record.


This Consultation Details are being faxed to you at the direction of the member and to the fax number
provided by the member. If you are not the primary care physician for the member whose records are
attached, please securely destroy the document and notify us immediately at the email address listed
below.


 Date generated               06/02/2025

 Subject                      Continuity of Care Record
 Sender                       Teladoc
                              2 Manhattanville Road, Purchase, NY 10577
                              1-800-835-2362
                              https://www.teladochealth.com
                              help@teladochealth.com




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                                                      Date generated: 06/02/2025
                                                           Hiran Rodriguez
                                                     820 Grove Ave, Metairie, LA 70003
                                                504-203-8459 hiranrodriguez@outlook.com




The Basics (self reported)

 Question                               Answer                                               Last Modified


 Height                                 6 ft 0 in                                           01/16/2025


 Weight                                 145 lbs                                             01/16/2025




General Care (self reported)

 Encounter                                             Date of Most Recent                            Last Modified

 Last Visit to Primary Care Physician                  05/29/2024                                     01/16/2025




Health Problems (seif reported)

 Condition                                                                  Answer                       Last Modified

 Anxiety                                                                    Yes                          01/16/2025

 Depression                                                                 Yes                          01/16/2025

 Headaches/Migraines                                                        Yes                          01/16/2025

 Other (Post Trautmatic Stress Disorder (PTSD) YES)                                                      01/16/2025

 Panic Attacks                                                              Yes                          01/16/2025




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                                                       Hiran Rodriguez
                                                 820 Grove Ave, Metairie, LA 70003
                                             504-203-8459 hiranrodriguez@outlook.com




Medications (self reported)

 Medication                        Dosa   Directions                                    Acti   Reporte     Source        Last
                                   ge                                                   ve     d By                      Modified

 Olanzapine 2.5 mg oral tablet     30     Take 1 tab(s) orally once a day               Past   Provider    Teladoc       03/29/202
                                          (in the evening)                                                 Prescribed    5


 Chantix Starter Pack 0.5 mg-1     1      Take 1 tab(s) orally 2 times a                Past   Provider    Teladoc       01/28/202
 mg oral tablet                           day                                                              Prescribed    5


 Chantix Starter Pack 0.5 mg-1     1      As per package directions.                    Past   Staff       Teladoc       03/29/202
 mg oral tablet                                                                                            Prescribed    5


 Amoxicillin-Clavulanate 875 mg-   14     Take 1 tab(s) orally every 12                 Past   Provider    Teladoc       03/29/202
 125 mg oral tablet                       hours for 7 days                                                 Prescribed    5


 Ipratropium Bromide Nasal 21      1      Take 2 spray(s) intranasally 3                Past   Provider    Teladoc       03/29/202
 mcg/inh nasal spray                      times a day                                                      Prescribed    5


 Benzonatate 100 mg oral           30     Take 1 cap(s) orally                          Past   Provider    Teladoc       03/29/202
 capsule                                                                                                   Prescribed    5




Allergies

 Type                  Allergy              Reaction                             Active                   Reported By

 (none reported)


Lab Tests (self reported)

 Test                              Date Most Recent                                        Last Modified

 (none reported)




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                                                    Hiran Rodriguez
                                              820 Grove Ave, Metairie, LA 70003
                                          504-203-8459 hiranrodriguez@outk)Ok.com




Social History (seif reported)
 Condition                                         Answer                                            Last Modified

 Smoke/Use Tobacco                                 Yes                                               01/16/2025


 How frequently do you use tobacco?                 Daily                                            01/16/2025


 How many years have you used tobacco?              1-5                                              01/16/2025


 Would you like to quit?                           Yes                                               01/16/2025

 Drink Alcohol                                     Yes                                               01/16/2025

 How often do you drink alcohol?                   Less than 1 drink per week                        01/16/2025

 Traveled Overseas In The Last 2 Months             No                                               01/16/2025




Family History (self reported)

 Condition                                Relationship                                     Last Modified

 Diabetes                                 Grandparent                                      01/16/2025

 Heart Disease                            Parent                                           01/16/2025


 High Blood Pressure                      Parent                                           01/16/2025


 Anxiety                                  Parent                                           01/16/2025

 Panic Attacks                            Parent                                           01/16/2025


 Headaches / Migraines                    Parent                                           01/16/2025

 Depression                               Parent                                          01/16/2025




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                                                            Hiran Rodriguez
                                                      820 Grove Ave, Metairie, LA 70003
                                                  K)4-203-8459   hiranrodriguez@outlook.com



 Consultation Details -1 of 9



Basic Information

                                                                        Name                       Hiran Rodriguez
Address               820 Grove Ave                                     Gender                     Male
                      Metairie
                                                                        Date of Birth              08/09/1997
                      LA
                      70003                                             Auth Consenter

Alternative           Specialist                                        Phone Number               504-203-8459



Provider Information

Provider Name         Daniel Deakter                                    PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, RA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed information

 Consult Detail        General Medical I Consult ID 39852242 I Consult Date 01/13/2025 03:01 PM CST


 Symptoms

 Primary               F43.22 - Adjustment disorder with anxiety
 Diagnosis

 Secondary
 Diagnosis

 Prescription          (none)

 Subjective           27-year old male presents with 3 year(s) of moderate anxious, worried that is worsening.
 Component            Patient denies suicidal thoughts (suicide).

                      The patient is not suicidal, homicidal, but has paranoid ideations but is not hallucinating.?
                      He has never been hospitalized.
                      Past medical history:?depression/anxiety. Migraines, panic attacks
                       Medications: reviewed
                      Past Surgical History: NA
                      Allergies: NKDA




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                                                          Hiran Rodriguez
                                                    820 Grove Ave, Metairie, LA 70003
                                                504-203-8459 hiranrodfiguez@outlook.com



 Objective Note       Phone consult. Patient is not in distress. With a phone consult exam is limited. Patient is awake
                      alert converses appropriately and speaks in full sentences and does not sound to be in distress.



 Assessment           Referred to Teladoc Mental Health
 Note                 I discussed with the patient the limitations of UC Telemedicine.?

 Plan                 Referred to Teladoc Mental Health


 Followup
                      Schedule a psychiatry visit for medication management,

 Messages             (none)

 Addendums




Visit Notes




Messages




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                                                           Hiran Rodriguez
                                                     820 Grove Ave, Metairie. LA 70003
                                                 504-203-8459 hlranrodriguez@outkx>k.cc»n



 Consultation Details - 2 of 9



Basic information

                                                                       Name                      Hiran Rodriguez
Address               820 Grove Ave                                    Gender                    Male
                      Metairie
                                                                       Date of Birth             08/09/1997
                      LA
                      70003                                            Auth Consenter

Alternative           Primary Care Physician                           Phone Number              504-203-8459



Provider Information

Provider Name         Dennis Wayne Garver                              PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, PA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed information

 Consult Detail        General Medical I Consult ID 39864561 I Consult Date 01/14/2025 07:00 AM CST

 Symptoms              Ear Ache (Earache)

 Primary               H93.19 - Tinnitus, unspecified ear
 Diagnosis

 Secondary
 Diagnosis

 Prescription         (none)




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                                                         Hiran Rodriguez
                                                   820 Grove Ave, Metairie, LA 70003
                                               504-203-8459 hiranrodriguez@outlook.com



 Consultation Details - 9 of 9



Basic information

                                                                    Name                      Hiran Rodriguez
Address             820 Grove Ave                                   Gender                    Male
                    Metairie
                                                                    Date of Birth             08/09/1997
                    LA
                    70003                                           Auth Consenter

Alternative         Specialist                                      Phone Number              504-203-8459



Provider information

Provider Name       Annick Hebou                                    PCP Name

For further Provider information, please contact Teladoc:
                    Teladoc Physicians, P.A.
                    1945 Lakepointe Dr.
                    Lewisville, TX 75057
Phone               888-402-6916

Fax                 888-418-2040
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                                                            Hiran Rodriguez
                                                      820 Grove Ave, Metairie. LA 70003
                                                 504-203-8459   hiranrodriguez@outlook.com



 Subjective           Consult with 27-year-old male. Chief complaint: other.
 Component            Patient has associated other.
                      Consult with 27-year-old male. Chief complaint: anxiety.
                      Patient has associated other.
                      - Reports distressing event on 06/1/2025 when sitting outside - train operator blasted horn as he
                      passed, felt intentional and targeted
                      - Experienced intense chest pressure, racing heartbeat, panic, fear, ongoing anxiety, trouble
                      calming down
                      - Reports feeling unsafe and vulnerable
                      - Seeking documentation of event in medical record
                      - Wants evaluation for possible trauma or anxiety
                      - Reports still shaking, concerned about cardiac and psychological health risks

 Objective Note       Video consult. Patient is not in distress.

 Assessment           Possible anxiety reaction to perceived threatening event
 Note                 - Cardiac symptoms requiring in-person evaluation

 Plan                 - Recommended immediate in-person evaluation at Jefferson General Hospital urgent care for
                      assessment of cardiovascular symptoms
                      - Advised to arrange follow-up with Teladoc mental health services for psychological evaluation and
                      possible therapy

 Followup
                      Your provider recommends that you go to the nearest Urgent Care Center for immediate
                      assistance.


 Messages             - Recommended immediate in-person evaluation at Jefferson General Hospital urgent care for
                      assessment of cardiovascular symptoms
                      - Advised to arrange follow-up with Teladoc mental health services tor psychological evaluation and
                      possible therapy

 Addendums



Visit Notes




Messages




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                                                           Hiran Rodriguez
                                                     820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459 hiranrodriguez@out1ook.com



 Subjective           27-year old male presents with 2 month(s) of mild upper respiratory that is not changing.
 Component            Patient has associated ear ache (earache) (ringing in ears, and mild discomfort). Patient denies
                      rhinorrhea, nasal congestion, and fever greater than 100.4.
                      27-year old male presents with 2 month(s) of mild upper respiratory that is not changing.
                      Patient has associated ear ache (earache) (ringing in ears, mild discomfort). Patient denies
                      rhinorrhea, nasal congestion, and fever greater than 100.4.


                      NKDA


                      PMHx; migraines, anxiety/depression, panic attacks

                      Meds: list reviewed


 Objective Note       Video consult. Patient is not in distress, no distress

 Assessment           Patient with chronic ringing in the ears are the past several months with occasional pain, he
 Note                 associates this with noise from proximal train tracks, not having any upper respiratory symptoms,
                      fevers

 Plan                 recommend using hearing protection like earplugs to help minimize noise pollution, given duration
                      of symptoms recommend in-person evaluation with an ear nose and throat specialist to determine if
                      any chronic hearing loss has occurred

 Followup             No further scheduled care is necessary at this time. If you are not better in 10 days, please see the
                      provider of your choice,

 Messages             (none)

 Addendums




Visit Notes




Messages




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                                                           Hiran Rodriguez
                                                     820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459   hiranrodriguez@outiook.com



 Consultation Details - 3 of 9



Basic Information

                                                                       Name                        Hiran Rodriguez
Address               820 Grove Ave                                    Gender                      Male
                      Metairie
                                                                       Date of Birth               08/09/1997
                      LA
                      70003                                            Auth Consenter

Alternative           Primary Care Physician                           Phone Number                504-203-8459



Provider Information

Provider Name         Joseph Chu                                       PCP Name

For further Provider information, piease contact Teladoc:
                      Teladoc Physicians, PA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 39885491 I Consult Date 01/14/2025 07:54 PM CST

 Symptoms              Feeling nervous, anxious or on edge

 Primary               F41.1 - Generalized anxiety disorder
 Diagnosis

 Secondary
 Diagnosis

 Prescription         (none)

 Subjective           27-year old male presents with 2 day(s) of moderate anxious, worried that is not changing.
 Component            Patient has associated feeling nervous, and anxious or on edge.
                      27-year old male presents with 2 day(s) of moderate anxious, worried that is not changing.
                      Patient has associated feeling nervous, anxious or on edge,
                      pt feels anxious about being harrased. pt seeks medical documentation

                      no si or hi. does not feel depressed

 Objective Note       Video consult. Patient is not in distress. Patient is awake and alert. Physical exam is limited due to
                      the nature of telemedicine.




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                                                            Hiran Rodriguez
                                                      820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459 hiranrodriguez@outiook.com



 Assessment           anxiety
 Note

 Plan                 rec er uc for in person eval

 Followup
                      Schedule a psychiatry visit for medication management.
                      Your provider recommends that you go to the nearest Urgent Care Center for immediate
                      assistance.


 Messages             (none)

 Addendums




Visit Notes




Messages




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                                                            Hiran Rodriguez
                                                      820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459 hiranrodriguez@outlook.com



 Consultation Details - 4 of 9



Basic Information

                                                                        Name                     Hiran Rodriguez
Address               820 Grove Ave                                     Gender                   Male
                      Metairie
                                                                        Date of Birth            08/09/1997
                      LA
                      70003                                             Auth Consenter

Alternative           Primary Care Physician                            Phone Number             504-203-8459



Provider Information

Provider Name         Shreya Lash                                       PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, PA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 40049339 I Consult Date 01/22/2025 03:24 PM CST

 Symptoms             Other


 Primary               F41.9 - Anxiety disorder, unspecified
 Diagnosis

 Secondary
 Diagnosis

 Prescription         (none)

 Subjective           Consult with 27-year-old male. Chief complaint: other.
 Component            Patient has associated other.


                      Pt requesting psychiatry visit for medication management. No other acute complaints.

 Objective Note       Phone consult. Patient is not in distress, telemedicine visit, no acute distress, awake, alert, and
                      oriented, normal mood and affect, speaking in full sentences, no respiratory distress.
 Assessment           Request for psychiatry service for medication management
 Note




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                                                          Hiran Rodriguez
                                                    820 Qrove Ave, tuletairie, LA 70003
                                                504-203-8459 hifanrodriguez®ciutlook.coin



 Plan                 Advised per Teladoc policy to follow up with Teladoc psychiatrist for the same. Risks, benefits, and
                      alternatives discussed. Patient is aware of the limitations of telemedicine, patient verbalizes
                      understanding and agreement with plan, reviewed patient?s complete medical hx including but not
                      limited to current medications and medication allergies.

 Followup
                      Schedule a psychiatry visit for medication management,

 Messages             (none)

 Addendums




Visit Notes




Messages




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                                                           Hiran Rodriguez
                                                     820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459   hjranrodrlguez@outlook.com



 Consultation Details - 5 of 9



Basic Information

                                                                       Name                        Hiran Rodriguez
Address               820 Grove Ave                                    Gender                      Male
                      Metairie
                                                                       Date of Birth               08/09/1997
                      LA
                      70003                                            Auth Consenter

Alternative           No Treatment                                     Phone Number                504-203-8459




Provider Information

Provider Name         Beau F Domangue                                  PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, RA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 40055691 I Consult Date 01/22/2025 06:07 PM CST


 Symptoms              Cephalgia (Headache)

 Primary               ZOO.OO - Encntr for general adult medical exam w/o abnormal findings
 Diagnosis

 Secondary
 Diagnosis

 Prescription          Chantix Starter Pack 0.5 mg-1 mg oral tablet
                       1

                       Take 1 tab(s) orally 2 times a day
                       01/22/2025
                       Beau F Domangue (Provider)



 Subjective            27-year old male presents with 3 year(s) of moderate smoking that is not changing.
 Component             Patient has associated cephalgia (headache).

 Objective Note        Phone consult. Patient is not in distress. NAD




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                                                            Hiran Rodriguez
                                                      820 Grove Ave, Metairie, LA 70003
                                                  ^>4-203-8459   hiranrodriguez@outlook.com



 Assessment           Request for smoking cesssation help with chantix
 Note

 Plan                 Rx Starter pack f/u w pep

 Followup             No further scheduled care is necessary at this time. It you are not better in 3 days, please see the
                      provider of your choice,

 Messages             (none)

 Addendums



Visit Notes




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                                                             Hiran Rodriguez
                                                       820 Grove Ave, Metairie, LA 70003
                                                   504-203-8459 hiranrodriguez@outkx)k.com



 Consultation Details - 6 of 9



Basic Information

                                                                         Name                      Hiran Rodriguez
Address               820 Grove Ave                                      Gender                    Male
                      Metairie
                                                                         Date of Birth             08/09/1997
                      LA
                      70003                                              Auth Consenter

Alternative           No Treatment                                       Phone Number              504-203-8459



Provider Information

Provider Name         Dr. Adrian Michael Pavlick                         PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, PA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 40180249 I Consult Date 01/28/2025 11 ;20 AM CST

 Symptoms              Other


 Primary               FI 7.298 - Nicotine dependence, oth tobacco product, w oth disorders
 Diagnosis

 Secondary
 Diagnosis




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                                                          Hiran Rodriguez
                                                    820 Grove Ave, Metairie, LA 70003
                                                504-203-8459 hlranrodrlguez@outlook.com



 Prescription         Chantix Starter Pack 0.5 mg-1 mg oral tablet
                      1
                      As per package directions.
                      01/28/2025
                      Dr. Adrian Michael Pavlick (Provider)




                      Chantix Starter Pack 0.5 mg-1 mg oral tablet
                      1
                      As per package directions.
                      01/28/2025
                      Jasmine Polk (Admin)




                      Chantix Starter Pack 0.5 mg-1 mg oral tablet
                      1
                      As per package directions.
                      01/30/2025
                      Ashanti Siddiq (Admin)



 Subjective           27-year old male presents with 1 day(s) of moderate smoking that is not changing.
 Component            Patient has associated other.
                      27-year-old male presents with 1 day(s) of moderate smoking that is not changing.

                      Patient has associated other.
                      Patient is trying to quit smoking cigarettes. He was prescribed a Chantix starter pack but the
                      pharmacy did not have it. He is requesting a new prescription to a different pharmacy.

 Assessment           No distress during call. Sending new prescription for Chantix to his preferred pharmacy.
 Note


 Plan                 Medication and follow up precautions.

 Followup

 Messages             Follow up with your primary care provider to monitor progress.

 Addendums




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                                                        Hiran Rodriguez
                                                  820 Grove Ave, Metairie, LA 70003
                                              504-203-8459   hiranrodriguez@outlook.com


iPatierit: Hiran Rddriguez - 0’l730/2025 3:36 PM USTJ
Need chantix prescription sent to Walmart at 8912 Veterans Memorial Blvd, Metairie, LA 70003.

[Teladoc staff; Ashanti S. - 01/30/2025 5:38 PM CST]
Hello Hiran,

We have updated your pharmacy on file and resubmitted your prescription. Please allow at least 20 minutes for
processing and follow up with the pharmacy for status updates. Thank you.




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                                                               Hiran Rodriguez
                                                         820 Grove Ave, Metairie, LA 70003
                                                     504-203-8459   hiranrodriguez@outk)Ok.com



 Consultation Details - 7 of 9



Basic Information

                                                                           Name                        Hiran Rodriguez
Address               820 Grove Ave                                        Gender                      Male
                      Metairie
                                                                           Date of Birth               08/09/1997
                      LA
                      70003                                                Auth Consenter

Alternative           Urgent care or Retail clinic                         Phone Number                504-203-8459



Provider information

Provider Name         Dr. Danielle Schroeder                               PCP Name

For further Provider information, piease contact Teladoc:
                      Teladoc Physicians, RA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 40630639 I Consult Date 02/16/2025 04:30 PM CST


 Symptoms              Cough,Nasal Congestion,Ear Ache (Earache),Rhinorrhea

 Primary               H92.03 - Otalgia, bilateral
 Diagnosis

 Secondary
 Diagnosis




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                                                     820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459   hiranrodriguez@outtook.com



 Prescription         Amoxicillin-Clavulanate 875 mg-125 mg oral tablet
                      14
                      Take 1 tab(s) orally every 12 hours for 7 days
                      02/16/2025
                      Dr. Danielle Schroeder (Provider)




                      Ipratropium Bromide Nasal 21 mcg/inh nasal spray
                      1

                      Take 2 spray(s) intranasally 3 times a day
                      02/16/2025
                      Dr. Danielle Schroeder (Provider)




                      Benzonatate 100 mg oral capsule
                      30
                      Take 1 cap(s) orally
                      02/16/2025
                      Dr. Danielle Schroeder (Provider)



 Subjective           27-year old male presents with 6 day(s) of moderate nasal congestion that is worsening.
 Component            Patient has associated ear ache (earache) (tinnitus), rhinorrhea, nasal congestion, and cough.
                      Patient denies fever greater than 100.4, and subjective fever.

 Objective Note       Video consult. Patient is not in distress. Patient awake and alert.

 Assessment           Patient presents with changing in hearing following upper respiratory symptoms.
 Note

 Plan                 Patient started on Augmentin for suspected otitis media. NSAID/Tylenol can be used for pain relief.
                      Please seek in person evaluation with otoscope exam if symptoms fail to resolve in the next 2-3
                      days.

 Followup             No further scheduled care is necessary at this time. If you are not better in 3 days, please see the
                      provider of your choice,

 Messages             (none)

 Addendums




Visit Notes




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                                       Electronic Health Record
                                         Date generated: 06rt)2/2025
                                              Hiran Rodriguez
                                        820 Grove Ave, Metairie. LA 70003
                                   504-203-8459 hiranrodriguez@outkx)k.co<Ti




Messages




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            Case 2:25-cv-00197-JCZ-DPC                Document 229-1                      Filed 06/17/25   Page 24 of 28
                                                 Electronic Health Record
                                                     Date generated: 06/02/2025
                                                          Hiran Rodriguez
                                                    820 Grove Ave, Metairie, LA 70003
                                                504-203-8459 hiranmdriguez@outlook.cofn




 Objective Note       Video consult. Patient is not in distress. General: WDWN in NAD. Alert. Appears comfortable and
                      acts normally. No obvious pain or respiratory distress.?

                      HEENT: Normocephalic and atraumatic. No conjunctival injection is noted.

                      Chest: Visually symmetric expansion. Normal respiratory rate with no apparent retractions. No
                      wheezing or cough during the conversation.??

                      Neuro: Alert and oriented. Speech normal. Motor and sensory normal. Gait normal.

 Assessment           Anxiety
 Note

 Plan                 1. Rest
                      2. Please seek further in person care (PCP, ED or urgent care) if symptoms and/or signs persist or
                      worsen, or new symptoms and/or signs appear.

                      The patient voiced understanding and agreement with the plan.

 Followup             No further scheduled care is necessary at this time. If you are not better in 3 days, please see the
                      provider of your choice.

 Messages             (none)

 Addendums



Visit Notes




Messages




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                                                  Electronic Health Record
                                                      Date generated: 06/02/2025
                                                           Hiran Rodriguez
                                                     820 Grove Ave. Metairie, LA 70003
                                                 504-203-8459   hiranrodriguez@outk>ok.coni



 Consultation Details - 8 of 9



Basic Information

                                                                        Name                        Hiran Rodriguez
Address               820 Grove Ave                                     Gender                      Male
                      Metairie
                                                                        Date of Birth               08/09/1997
                      LA
                      70003                                             Auth Consenter

Alternative           No Treatment                                      Phone Number                504-203-8459



Provider Information

Provider Name         John Haughom                                      PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, RA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 41445428 I Consult Date 03/29/2025 04:16 PM CDT

 Symptoms              Anxiety

 Primary               F41.9 - Anxiety disorder, unspecified
 Diagnosis

 Secondary
 Diagnosis

 Prescription          (none)

 Subjective            Consult with 27-year-old male. Chief complaint: other.
 Component             Patient has associated anxiety.
                       Consult with 27-year-old male. Chief complaint: the patient is having "ptsd-like symptoms".
                       Patient has associated anxiety.
                       The patient is having "PTSD-like symptoms" and he "wants it documented." His primary symptom
                       is anxiety. He otherwise feels well and denies other symptoms including fever, chills, headache,
                       body aches, earache, sore throat, nasal stuffiness, shortness of breath, cough, wheezing or chest
                       pain.




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                                                        Date generated: 06/02/2025
                                                             Hiran Rodriguez
                                                       820 Grove Ave, Metairie, LA 70003
                                                 504-203-8459    hiranrodriguez@out)ook.coni



 Consultation Details - 9 of 9



Basic Information

                                                                         Name                        Hiran Rodriguez
Address               820 Grove Ave                                      Gender                      Male
                      Metairie
                                                                         Date of Birth               08/09/1997
                      LA
                      70003                                              Auth Consenter

Alternative           Specialist                                         Phone Number                504-203-8459



Provider Information

Provider Name         Annick Hebou                                       PCP Name

For further Provider information, please contact Teladoc:
                      Teladoc Physicians, RA.
                      1945 Lakepointe Dr.
                      Lewisville, TX 75057
Phone                 888-402-6916

Fax                   888-418-2040



 Detailed Information

 Consult Detail        General Medical I Consult ID 42616314 I Consult Date 06/02/2025 05:19 PM CDT

 Symptoms              Other


 Primary               R00.2 - Palpitations
 Diagnosis

 Secondary             F43.0 - Acute stress reaction
 Diagnosis

 Prescription          (none)




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                                                       Date generated: 06/02/2025
                                                            Hiran Rodriguez
                                                      620 Grove Ave, Metairie, LA 70003
                                                 504-203-8459   hiranrodriguez@outkDOk.com



 Subjective           Consult with 27-year-old male. Chief complaint: other.
 Component            Patient has associated other.
                      Consult with 27-year-old male. Chief complaint: anxiety.
                      Patient has associated other.
                      - Reports distressing event on 06/1/2025 when sitting outside - train operator blasted horn as he
                      passed, felt intentional and targeted
                      - Experienced intense chest pressure, racing heartbeat, panic, fear, ongoing anxiety, trouble
                      calming down
                      - Reports feeling unsafe and vulnerable
                      - Seeking documentation of event in medical record
                      - Wants evaluation for possible trauma or anxiety
                      - Reports still shaking, concerned about cardiac and psychological health risks

 Objective Note       Video consult. Patient is not in distress.

 Assessment           Possible anxiety reaction to perceived threatening event
 Note                 - Cardiac symptoms requiring in-person evaluation

 Plan                 - Recommended immediate in-person evaluation at Jefferson General Hospital urgent care for
                      assessment of cardiovascular symptoms
                      - Advised to arrange follow-up with Teladoc mental health services for psychological evaluation and
                      possible therapy

 Followup
                      Your provider recommends that you go to the nearest Urgent Care Center for immediate
                      assistance.


 Messages             - Recommended immediate in-person evaluation at Jefferson General Hospital urgent care for
                      assessment of cardiovascular symptoms
                      - Advised to arrange follow-up with Teladoc mental health services for psychological evaluation and
                      possible therapy

 Addendums



Visit Notes




Messages




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                                                 504-203-8459 hiranrodriguez@outkx)k.com



 Subjective           Consult with 27-year-old male. Chief complaint: other.
 Component            Patient has associated other.
                      Consult with 27-year-old male. Chief complaint: anxiety.
                      Patient has associated other.
                      - Reports distressing event on 06/1/2025 when sitting outside - train operator blasted horn as he
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Visit Notes




Messages




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